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                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF WYOMING
                                                                                                          4:33 pm, 5/10/22
COLONEL (Ret) VICTORIA MIRALDA,                                      )
                                                                     )                            Margaret Botkins
        Plaintiff,                                                   )                              Clerk of Court
                                                                     )
                 vs.                                                 ) Civil Action No. 22-cv-00111-SWS
                                                                     )
CHINOOK WINDS LLC.,                                                  )
a Wyoming limited liability company                                  )
                                                                     )
        Defendant.                                                   )


     ORDER GRANTING ADMISSION PRO HAC VICE OF JONATHAN G. MARTINIS AS
              COUNSEL FOR THE PLAINTIFF VICTORIA MIRALDA

        THIS MATTER having come before the Court upon the motion of counsel for the Plaintiff

Victoria Miralda, pursuant to Rule 84.2(b) of the Local Rules of the United States District Court for the

District of Wyoming for the purpose of admitting Eric Hanson Pro Hac Vice counsel in the District of

Wyoming. The Court reviewed this matter and finds that the motion should be granted. Accordingly,

        IT IS HEREBY ORDERED that Jonathan G. Martinis, is hereby admitted to practice before this

Court for all purposes in this matter.

        IT IS FURTHER ORDERED that Local counsel shall be present in Court during all

Proceedings in connection with the case, unless excused by the Court, and shall have full authority to act

for and on behalf of the client in all matters including pretrial conferences, as well as trial or any other

hearings. Any notice, pleading or other paper shall be served on all counsel of record including local

counsel.


        DATED this 10th day of May, 2022.


                                                            ____________________________________
                                                            ________
                                                                  _ __________
                                                            Kelly H. Rankin
                                                            UNITED STATES MAGISTRATE JUDGE
